UNITED STATES DISTRICT COURT a usTRe? Oo. 5
SOUTHERN: DISTRICT OF INDIANA WAAC Spa DWI Ghe:
INDIANAPOLIS DIVISION
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DONNELL E. GILDER, JR.,
Petitioner,.

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Cause: Noz1¥18-cv-2096-JMS-DEP
Vs. Se

UNITED STATES OF AMERICA
Respondent.

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MOTION TO CORRECT SUBJECT MATTER AND/OR CLARIFY CLAIMS

COMES NOW Petitioner in Pro Se and hereby request that the
Honorable Court allow him to clarify his claims to avoid any
miscarriage of justice and undue prejudice. Petitioner is a
layman of the law and as such his arguments are open to
interpretation by the Court and opposing party. With inter-
pretation comes the chance of misinterpretation which
Petitioner would like _a chance to correct and/or clarify

in the pursuit of justice and fairness.

CLAIMS

Ineffective Assistance of Counsel ~- Respondent's assert
that "Gilder primarily claims that his attorney was ineffective
prior to Gilder's plea agreement". Doc. 20 p..1. (1d.) This is
incorrect. Upon inspection of Petitioner's original § 2255
Petition on page 5 under supporting facts it states in part
"There are several issues...[t]hese range from 5th and 6th
Amendment violations, to inadequate assistance in the pre and

post sentencing procedures",

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Petitioner's stance on Ineffective Assistance of Counsel (IAC)
are and/or were as follows: (1) Failure to Investigate Mitigating
Factors in Relation to Conviction and Sentencing (such as eviden~-
ce that Petitioner did not commit all robberies), (2) Failure
to Act as an Adversary (accepted initial plea without any
resistance or consideration), (3) Failure to Motion for Suppress-
ion in the early pre-trial stages, and (4) Failure to File a
Direct Appeal (Petitioner requested an appeal to address several

issues primarily the issue of Stacking § 924(c) and Vagueness).

It's clear that the Respondent addressed some of these issues
but not in the correct context. Petitioner asserts that Defense
Counsel should have addressed the suppression in the early stages
of pre-trial thereby advoiding any issue of negating a plea.
agreement. It is well understood that there is not or should not
be any inherent risk of vindictiveness raised by defendant's
pursuit of various pretrial rights including the right to seek to
suppress evidence. The [Goodwin] Court noted that "qa defendant
before trial is expected to invoke procedural rights that
inevitably impose some ‘burden' on the prosecutor. Defense
counsel routinely file pretrial motions to suppress evidence; _
to challenge the sufficiency and form of an indictment; to
plead an affirmative defense.... it is unrealistic to assume
that a prosecutor's probable response to such motions is to
seek to penalize and to deter." United States v. Goodwin,

457 U.S. 368, 102 S. Ct. 2485, 73 L. Ed. 2d 74 (1982).

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Defense Counsel knowing and understanding the principals
outlined in Goodwin had ample opportunity to move to suppress
with minimal risk of running afoal of the prosecution., Petit-
ioner was prejudiced by Defense Counsel's failure to suppress
evidence early in the pre-trial phase. The Government would
have proposed a more favorable plea rather than litigate the

merits of the suppression.

Also of concern is the lack of moving to suppress only
lent strength to the prosecutor's position and diminished. any
chance of defense. In light of United States v. Cronic, 466
U.S. 648, 104 S. Ct. 2039, 80 L. Ed. 2d 657 (1984) (Counsel
must be an advocate and not merely a friend of the court).
If Counsel would have filed a suppression the jury and/or
a jurist would have granted the suppression of testimony which

serves as the basis of the consecutive 924 (c) stacking of
charges.
Defense Counsel as a expert of the law is able to forma

cognizable argument in light of the fact that the prosecution

only had physical evidence in relation to one count as charged.

 

Again t this: could and/or would have been used asa | bargining
tool or means to form a defense. Defense Counsel never
provided any defense fpr Petitioner and cause Petitioner to
suffer from over incarceration and consecutive sentences.

In violation of Strickland v. Washington, 466 U.S. 668, 104

S. Ct. 2052, 80 L. Ed. 2d 674 (1984) and Cronic, 466 U.S. 648,
(Id.) (holding that prejudice can be assumed when counsel fails

to provide a defense).

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Mitigating Evidence -- Petitioner asserted several times to
Defense Counsel that he was coached through out his testimony
by the interviewing detectives. Furthermore he informed Defense
Counsel that his cell phone records would prove that it's
impossible for him to have committed all of the crimes as charged.
Currently Petitioner is without a Docket Sheet or any Trial
Transcripts. . He is unable to articulate the exact dates and
times of these communications with out the Trial Transcripts :
and Docket Sheets to use as reference. Certainly this informat-
ion should be and/or is in Defense Counsel's Work Product.
Petitioner asserts that he notified Defense Counsel at their
initial meeting that he did not committed all the crimes as

charged.

In light of mitigating and or exculpatory evidence in the
form of cell records and other "known" suspects in these
charges, Defense Counsel neglected her duties. In such cases
prejudice can be presumed in light of Cronic, 466 U.S. 648
(Id.). Faced with additional charges all carrying mandatory
consecutive terms of imprisonment is a clear prejudice
because it exposed Petitioner to additional incarceration.
Furthermore such actions effect Petitioner's decision making
in whether to accept a plea or go to trial. Under the threat
of a harsher plea and/or an enhanced sentence Petitioner was
coerced into a unfavorable plea. As the case with most 924 (c)
cases. See, Harris v. Thompson, 698 F. 3d 609 (7th Cir. 2012)
holding that (Counsel's failure to discover and present

exculpatory evidence that is reasonably available can cons-

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titue[s] deficient performance). See also, Davis_v. Lambert,

388 F. 3d 1052, 1064, 1063 (7th Cir. 2004).

Failure to File Direct Appeal -- Petitioner asserts that he
had a right to file a Direct Appeal and Defense Counsel refused
his request. Petitioner requested Defense Counsel to do so
several times and brung it to her attention. This occurred
after the hearing on the Plea agreement and right before
sentencing. Petitioner also wrote letters on the issue.

Defense Counsel refused to do so because of the plea agree-
ment. But none the less, Defense Counsel as a expert of the
law was very capable of filing a simple application for appeal

with cognizable claims that may or may not have been waived.

It is well settled that all claims for appeal can not be
waived. Even if the plea agreement says such. Claims relat-
ing to Prosecutorial Misconduct, Jurisdiction, Ineffective
Assistance of Counsel can not be waived. As such Counsel
could have articulated a claim for Petitioner, In light of
Garza v. Idaho, 138 S. Ct. 2649, 201 L. Ed 1048, U.S.

LEXIS. 3713,.No...17-1026 (2018). holding. that..(lawyer rendered
deficient performance by refusing to file an appeal, despite
his client's repeated requests). In. such cases can be presumed
because Petitioner had every right to an appeal in which case
he could have been afforded an opportunity to a reduction of

his sentence.

First Step Act -~ Respondent's misconstrue Petitioner's

argument in light of the First Step. Petitioner does request

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the Court to consider the First Step Act and to resentence him
in light of it. But the Respondent's take the position of
attempting to restrict the Court to the date of Petitioner's
sentencing of July 10,2017. The First Step Act does apply to

if "the sentence for the offense has not.been imposed as of the
date of enactment." Pub. L. No. 115-391, § 403, 132 Stat. 5194,

5222 (2018). But there is no clear definition of "date of

sentence imposed". -

The Court has wide discretion when applying a sentence’. If a L
sentence is set aside or re-imposed there are no limitations on
a Courts discretion to apply the sentencing factors of the
First Step Act. See, Pepper v. United States, 562 U.S. 476, 506,
131 S. Ct. 1229, 1241-42, 179 L. Ed. 2d 196 (2011) (holing that
the sentencing framework of § 3553 (a) applies both at a defen-
dant's initial sentencing and at any subsequent resentencing).
Because a criminal sentence is a package composed of several
parts, "when one part of the package.is disturbed, we prefer to
give the district court the opportunity to reconsider the sente-

nce as a whole so as to ‘effectuate it's sentencing intent'.""

 

“United States v. Mobley, 833 F. 34 797, 801 (7th Cir. 2016).

If remanded for the imposition of a new sentence for
Petitioner this will allow the district court to "reconfigure
the sentencing plan" to "satisfy the sentencing factors in 18
U.S.C. § 3553 (a), See, Pepper, 131 S. Ct. 1229 (Id.), See also
Greenlaw v. United States, 554 U.S. 237, 253, 128 S. Ct. 2559,
171 L. Ed. 2d 399 (2008). As such the Court has every authority

if it so chooses to remand in light of Pepper and the First Step

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Act and sentence accordingly.

924(c) Claims -~ Petitioner did and does claim that 924 (c)
is vague and does not.apply to his case as charged. Furthermore,
Petitioner beleives and asserts that the predicate offense that
supports his 924(c) cases do not qualify as a crime of violence
and such are without jurisdiction to impose such an enhanced
sentence. 18 U.S.C. § 1951(a) is not listed as a crime of
-violence under The First Step Act nor is Interference With
Commerece defined as a Crime of Violence with in 18 U.S.C.

section 16. See, Sessions v. Dimaya, 138 S. Ct. 1204 (2018).

 

In the case of United States v. Simms, 2019 U.S. App. LEXIS

 

2341, No.15-4640 (4th Cir. 2018)(holding the residual clause
of the definition for a "crime of violence" in 18 U.S.C.S.

§ 924(c)(3)(B) is unconstitutionally vague because it requires
court to.imagine idealized ordinary case of crime while
providing no guidance on how to do so and then to assess its
speculation using vague standard of "substantial risk".)

In the case of United States v. Davis, Supreme Court Case

 

No. 18-431(petition for cert filed Oct. 3, 2018 and granted)
(Argues that the use of the ordinary-case categorical approach
in 924(c) cases is at odds with everyone).

At hand is the issue of wether a 924(c) can be applied
conduct-specific, case-specific or the hypothetical ordinary-
cae categorical approach. Regardless of which the Supreme Court
decides on, the decision is likely to have an impact on the

this instant case. _

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Apprendi -- Respondent is of the position that this claim
could have been raised on Direct Appeal and we agree. That's
why this claim is valid under IAC. Since Petitioner is a
layman of the law he requests that the Court lend merit to
this argument because it is of significance and not to do so
would undermine the fairness of this proceeding. Apprendi,
applies to the finding of a fact that increases the penalty
of a crime beyond the statutory maxium. In this case the
statutory maxium for 18 U.S.C. 1951(a) is 20 years (or 240
months). Petitioner was sentenced to 420 months is almost
double that of the statutory maxium. Clearly Appreni applies
and/or could have been used as mitigation during sentencing..
Petitioner has been prejudiced by this sentencing error and
lack of defense by Defense Counsel at a critical stage of

Trial.
CONCLUSION

The Petitioner in Pro Se who is a layman of the law
respectfully moves this Court to Allow him to clarify his
Claims and/or Position. Furthermore, Petitioner beleives that
“Respondents should be akbltowedto address any misunderstandings
for a fair. Petitioner request the appointment of Counsel and
a Hearing to resolve these claims. It would benefit all parties
to traverse these Claims, Motions, and Stay any decision pending
the outcome of Davis, S. Ct. (2018). Petitioner requests that any
filings be decided other than Doc. 20 (Motion for Summary Dismiss-

al). As there being conflicting evidence Motion for Summary Dismi-

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ssal is not warranted.

Respectfully Submitted,

/s/ (Trl E Dd b

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Certificate Of Service

I, Donnell E. Gilder, Petitioner, Certify that I placed this
motion and all foregoing attachments in the Prison MailBox

System to be mailed to the Parties listed be lqw, on this
Date: Y /1b fA . /s/ _ .
Donnell E. Gilder, ‘Jr.

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